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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

In re CASSAVA SCIENCES, INC.             §
SECURITIES LITIGATION                    § Master File No. 1:21-cv-00751-DAE
                                         §
                                         § CLASS ACTION
This Document Relates To:                §
                                         §
         ALL ACTIONS                     §
                                         §
                                         §


      [PROPOSED] ORDER GRANTING PLAINTIFFS’ OPPOSED MOTION TO
   SUPPLEMENT THE CONSOLIDATED COMPLAINT FOR VIOLATIONS OF THE
                     FEDERAL SECURITIES LAWS




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         This Court, having considered Plaintiffs’ Opposed Motion to Supplement the Consolidated

Complaint for Violations of the Federal Securities Laws (“Motion”), and all papers and argument

provided in connection with the Motion, and good cause appearing therefor, hereby GRANTS the

Motion and ORDERS the following:

         1.         Plaintiffs are hereby authorized to file the Supplemented Consolidated Complaint for

Violations of the Federal Securities Laws previously submitted to the Court as Exhibit C to the

Motion.

         SIGNED this ______ day of ____________ 2024.

                                                     _______________________________________
                                                         THE HONORABLE DAVID ALAN EZRA
                                                     SENIOR UNITED STATES DISTRICT JUDGE




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